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                          UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NEW YORK


                                           )
                                           )
                                           )
DAVID FARHI,                               )
                                           )
            Plaintiff,                     ) Civil Action No. 1:12-cv-01081-JG-RLM
                                           )
v.                                         ) PLAINTIFF’S NOTICE OF
                                           ) VOLUNTARY DISMISSAL
PENTAGROUP FINANCIAL, L.L.C.               )
                                           )
           Defendant.                      )
                                           )
                                           )
                                           )
                                           )




NOTICE IS HEREBY GIVEN that, pursuant to Fed.R.Civ.Pro. 41(a), Plaintiff voluntarily

dismisses the entire action.



 Date: April 24, 2012




                                            ________________________________________

                                            Robert Amador, Esq.
                                            Attorney for Plaintiff David Farhi
                                            9452 Telephone Rd. 156
                                            Ventura, CA. 93004
                                            (888)308-1119 ext. 11
                                            R.Amador@centenniallawoffices.com




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                            CERTIFICATE OF SERVICE

       I certify that on this date, April 24, 2012, I mailed a copy of the foregoing PLAINTIFF’S

NOTICE OF VOLUNTARY DISMISSAL, First Class U.S. Mail, to the following party:


Pentagroup Financial, LLC
5959 Corporate Drive, Suite 1400
Houston, TX 77036




                                            ________________________________________
                                            ROBERT AMADOR, ESQ.
                                            Attorney for Plaintiff DAVID FARHI
                                            9452 Telephone Rd. 156
                                            Ventura, CA. 93004
                                            (888)308-1119 ext. 11
                                            R.Amador@centenniallawoffices.com




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